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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA, ]
                          ]
                          ]
v.                        ] File No. 1:19-CR-00297-ELR-JSA
                          ]
TODD CHRISLEY a/k/a       ]
MICHAEL TODD CHRISLEY,    ]
JULIE CHRISLEY, and       ]
PETER TARANTINO,          ]
                          ]
    Defendants.           ]




           PETER TARANTINO’S SENTENCING MEMORANDUM

      Peter Tarantino, who recently turned 60 years old, will be sentenced following

his conviction for felony tax offenses. He did not financially benefit from the crimes

that he was convicted of committing. Though he was convicted of conspiring with

his co-defendants to misrepresent their taxable income and their assets with which

they could pay past due taxes (and on their behalf, filed erroneous tax returns), he

was paid his normal hourly rate ($180 - $200/hour) for providing CPA services.

   Having been convicted, he deserves to be punished. This memorandum urges the

Court to sentence him to a minimal period of incarceration reflecting his

background, the nature of the crimes he committed, and his minimal role in the

offense.


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1. Tarantino, who is now 60 years, has no record. He poses no risk of recidivism

    Studies have shown that when an offender’s first offense occurs when he is in his

60’s, the chance of recidivism as exceedingly low.1 While age, in and of itself, is

not a factor that the guidelines encourage to be explicitly calculated in computing

the sentencing range, it does factor into recidivism, and recidivism is one of many

factors that can and should inform the Court’s decision about a reasonable sentence.

See USSG § 5H1.1.


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  The key findings of a United States Sentencing Commission’s study of federal offenders’ recidivism by age at
release are that:

        • Older offenders were substantially less likely than younger offenders to recidivate following release. Over
        an eight-year follow-up period, 13.4 percent of offenders age 65 or older at the time of release were
        rearrested compared to 67.6 percent of offenders younger than age 21 at the time of release. The pattern
        was consistent across age groupings, and recidivism measured by rearrest, reconviction, and reincarceration
        declined as age increased.

        • For federal offenders under age 30 at the time of release, over one-fourth (26.6%) who recidivated had
        assault as their most common new charge. By comparison, for offenders 60 years old or older at the time of
        release, almost one quarter (23.7%) who recidivated had a

        Age exerted a strong influence on recidivism across all sentence length categories. Older offenders were
        less likely to recidivate after release than younger offenders who had served similar sentences, regardless of
        the length of sentence imposed. In addition, for younger offenders there was some association between the
        length of the original federal sentence and the rearrest rates, as younger offenders with sentences of up to
        six months generally had lower rearrest rates than younger offenders with longer sentences. However,
        among all offenders sentenced to one year or more of imprisonment, there was no clear association between
        the length of sentence and the rearrest rate.

        • Age and criminal history exerted a strong influence on recidivism. For offenders in Criminal History
        Category I, the rearrest rate ranged from 53.0 percent for offenders younger than age 30 at the time of
        release to 11.3 percent for offenders age 60 or older. For offenders in Criminal History Category VI, the
        rearrest rate ranged from 89.7 percent for offenders younger than age 30 at the time of release to 37.7
        percent for offenders age 60 or older.

        • Education level influenced recidivism across almost all categories. For example, among offenders under
        age 30 at the time of release, college graduates had a substantially lower rearrest rate (27.0%) than
        offenders who did not complete high school (74.4%). Similarly, among offenders age 60 or older at the
        time of release, college graduates had a somewhat lower rearrest rate (11.6%) than offenders who did not
        complete high school (17.2%).




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   Tarantino has no criminal record. Moreover, as a CPA who has assisted

individuals for decades, Tarantino has never been accused of any impropriety in

connection with the preparation of any income tax return.

   As noted above, Tarantino did not financially benefit from the crime. He was not

paid extra, did not take a commission, and did not “split the loot” with the Chrisleys.

He was not paid extra to hide information from the IRS; he was not paid a premium

to falsify a tax return. Over the course of four years, he submitted bills at his normal

hourly rate and was paid according to his bills. No presents; no gifts under the table.

   Yet, he has paid a price, not just in attorney’s fees, but in the loss of his business

and his CPA license, his reputation and standing in the community, as well as any

fine that the Court will impose.

   2. Tarantino’s background, as revealed in the PSR, includes an abusive
      childhood which he overcame through perseverance

   As the PSR reveals, Tarantino’s childhood was tumultuous. Tarantino describes

his childhood:

   At the age of 7 my parents’ marriage began to unravel. My father is an alcoholic
   and was physically and verbally abusive to my mother.

   After having endured the abuse for many years my mother, fearing for her safety
   and the wellbeing of my brother and I, filed for divorce and an order of protection.
   This only further enraged my father.

   Over the next several years their divorce and child custody hearings worked their
   way through the courts.




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My father convinced my brother that the divorce was my mother’s fault. He
turned my brother against my mother. This was the beginning of a six-year
period where my brother refused to have any contact with my mother.

My brother went to live with my father at my grandparents’ home some 90 miles
away in upstate NY.

My father did everything he could to avoid paying child support and alimony /
maintenance. Needing to support me my mother returned to work as a legal
secretary. I became a “latch-key child.”

When I was 10 or 11 years old my father kidnapped me. He took me to my
grandparents’ home in Upstate NY. He made me call my mother and tell her I
never wanted to see her again and if she made us go to court I would tell that to
the judge. To say this was traumatic is an understatement.

After a few days passed my grandmother realized what was going on and she told
my father to take me back to my mother or she would call the police.

My brother and I were always close even though we are 5 years apart in age and
I missed him. I did see him when my father had visitation but I wanted more.

At the time I was about 11 years old I asked my mother if I could go live with
my father because I missed my brother. I can’t imagine how difficult it was for
my mother to make this “Sophie’s Choice” but she agreed because she felt it was
important that my brother and I maintain our close relationship.

During this time my father remarried and we eventually moved to Long Island to
the home owned by my now stepmother, Dolores.

I had regular visitation with my mother on weekends and alternate school
vacations.

At the age of 12 I got a part time job at the grocery store a block away from our
home on Long Island. I swept up, restocked shelves, and occasionally helped the
delivery driver who delivered groceries to various homes in the small community.

One of the customers we delivered to was an orthopedic surgeon, Dr. Kapland.
He noticed there was something wrong with my gait. He contacted my father to
tell him his concern and offered to examine me at his office.

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   My father agreed. Dr. Kapland said I had a slipped femoral epiphysis. The
   problem, if not corrected would result in a significant difference in the length of
   my legs. I had surgery to correct the problem which involved putting pins in my
   femur. First on my right leg the following year on my left leg and then a final
   surgery to remove the pins.

   Because of the surgeries I spent three consecutive summers in a wheelchair.

   3. Tarantino is recovering from hip surgery and will have a second
      operation in February on the other hip.

   On November 9th, Tarantino had hip replacement surgery. He will need the

assistance of a walker for several weeks thereafter while receiving rehabilitative

physical therapy. A second hip replacement will be necessary in approximately

three-to-four months. See Letter from Anuj Gupta (Nov. 10, 2022) (Attached as

Exhibit 1).   Again, he will need a walker for several weeks while receiving

rehabilitative physical therapy after this second procedure. The defense will be

requesting a delayed surrender date to accommodate these medical issues, but also

urges the Court to consider Tarantino’s health condition and limited mobility (thus

restricting his ability to participate in any prison recreation and limiting his work

opportunities), in fashioning an appropriate in-custody sentence. See USSG 5H1.4.

   4. Tarantino has been charitable in ways that do not result in any
      recognition.

   Not only does Tarantino donate his time to charitable organizations; he also helps

with his tenants and others who are in difficult situations. We are attaching as




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exhibits to this memorandum several letters that document his community

involvement, as well as his individual acts of compassion and charity.

   He served on the board and has provided financial assistance to the following

associations:

           a. Homestretch (homeless assistance)

           b. Hope Foundation (hospice care education and assistance)

           c. Alpharetta Public Safety Foundation (financial support to First

                Responders)

           d. Hopewell Youth Association (recreational baseball program).

His role in these charities are described in the attached letters of support.

   5. Letters of Support from Family, Friends, Clients, Tenants and Others

   Attached to this Memorandum are letters of support from members of Tarantino’s

family, friends, clients, tenants and various other people who have known Tarantino

for decades and who have experienced his generosity, his compassion, and his

exemplary behavior. (Exhibit 2). The letters portray Tarantino as a man who has

regularly put the welfare of others ahead of his own financial interests: he has

provided free accounting advice to both institutional charities and to individuals who

have sought his help. He allows tenants to delay paying rent in hard times. For

example:

   He is the very cornerstone of our family. For over ten years, while my mother
   split her time between our family and caring for her sick parents, my father

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   somehow managed to bridge the gap in caring for myself and my brother. He
   is also an emotional rock for our family, particularly through the deaths of his
   mother and my mother's parents. Also, he is the sole provider for a family of
   five.

   The time from my father's indictment to the writing of this letter spans over
   three full years. In that time, I graduated college twice, my brother graduated
   high school and is almost finished with college. We have had two other deaths
   in our family. My father's father has almost passed away twice. My mother's
   aunt moved in with us and is under my mother's care. Both my brother and I
   have been hospitalized several times for various issues, me for my kidneys
   and
   gallbladder, and my brother for his heart. And yet, through all of this, and
   despite the monstrous black cloud that has followed my dad around for all this
   time, my father has been there, with his head held high, ready to do anything
   and everything in his power to guide us through whatever crisis has befallen
   us at that point in time. Without him, I truly do not know how our family
   would continue to function.

   My father was a board-member and accountant for Homestretch, a charity that
   provides stable housing for families with children, for almost a decade. He sat
   on the Board of Directors for the Alpharetta Public Safety Foundation. He was
   also a board member for Hopewell Youth Association where my brother and
   I played recreational baseball. He has done thousands of hours of pro-bono
   tax work for friends, family, and charitable organizations. He was also a
   yearly participant in our church's Secret Santa for the parish. Frequently, he
   will use credit card points to increase our family donations to North Fulton
   Community Charities.

Letter from Alexander Tarantino.

   During a particularly difficult time in my life, I was going through an ugly
   divorce it was Peter who would invite me and my children to come out to
   dinner with his family every Saturday after church. Peter would do my taxes
   and not charge me because he knew financially, I was struggling. When my
   mother was gravely ill and we had to scramble to find somewhere for her and
   my father to live, it was Peter who came to the rescue for us. I don’t remember
   a time when Peter has not offered help to my family even when we didn’t ask.

Letter from Sheridan Alonso.

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   Peter and my family are extremely close, when my wife was seriously ill in
   hospital the Tarantino’s were the first people to reach out and offer help, Peter
   facilitated an apartment for my wife and I to stay in once she was discharged
   from hospital.

Letter from John Britchford-Steel.

   I met Peter when I accepted the position of Executive Director with
   HomeStrech, Inc., a nonprofit that provides housing and services for homeless
   families in North Fulton County. During my nearly 10 years at HomeStretch,
   I came to know Peter as a committed member of the Board of Directors, a
   passionate volunteer and a generous person who cares for others and serves
   his community.

Letter from Rose Burton.

   Peter willingly devoted his time, effort and free business services to Hopewell
   Youth Baseball and several other community events. Peter covered everything
   from registration, uniforms, coaching, mentoring, concession stands to Board
   of Directors. Peter has made helping others and volunteering contagious in
   our community. Usually anytime something comes up where help is needed
   Peter is the first call.

Letter from Phillip Hettinger.


   Peter respects us as tenants while always displaying great compassion and
   understanding when I face financial difficulties which results in late rental
   payments. He is never disgruntled, and his kind words of encouragement
   during such trying financial times helps me tremendously. These remarkable
   attributes, along with his compassion and patience aids in alleviating the
   pressures of my symptoms from anxiety.

Letter from Crystal Matthews.




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                                  CONCLUSION

        The United States Sentencing Commission has identified the list of factors

that courts often cite as reasons for a downward variance. If one were to check the

boxes, Tarantino would score high on over a dozen of the reasons that have been

identified as supporting a downward variance: (1) Medical Care; (2) aberrant

behavior; (3) community ties; (4) conduct while on release; (5) physical condition;

(6) non-violent offense; (7) role in the offense; (8) previous employment record; (9)

youthful experiences; (10) age; (11) family ties and responsibilities; (12) lack of

criminal history; (13) no need to protect public from further crimes; (14) criminal

history issues. U.S.S.C. Sourcebook, 2021, Table 44.

        It is worth noting, moreover, that well over 50% of sentences imposed in

federal court for tax offenses result in a variance (USSC Source Book, 2021, Table

31).

        For the foregoing reasons, Tarantino urges the Court to impose a sentence of

18 months. This sentence will accomplish the legitimate mission of sentencing and

accounts for all the §3553(a) factors and will be consistent with the sentencing

decisions of federal judges throughout the country, thus avoiding inappropriate

disparity.




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Respectfully submitted,



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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 16th day of November, 2022, I caused the

foregoing to be electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send email notification of such filing to all counsel

of record.

                                       /s/John J. Van Why
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